Case 2:21-cv-09361-AB-MRW Document 58 Filed 03/24/23 Page 1 of 3 Page ID #:653




  1
  2
  3
  4
  5
  6
  7
  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
 10                             WESTERN DIVISION
 11 UNIVERSAL CITY STUDIOS         )
    PRODUCTIONS LLLP; UNIVERSAL ) Case No. 2:21-cv-09361-AB (MRWx)
 12 CITY STUDIOS LLC; UNIVERSAL )
    TELEVISION LLC; UNIVERSAL
 13 CONTENT PRODUCTIONS LLC;       ) [PROPOSED] PERMANENT
    DREAMWORKS ANIMATION LLC; ) INJUNCTION
 14 DISNEY ENTERPRISES, INC.;      )
    PARAMOUNT PICTURES             )
 15 CORPORATION; AMAZON            )
    CONTENT SERVICES LLC; APPLE )
 16 VIDEO PROGRAMMING LLC;
    WARNER BROS. ENTERTAINMENT )
 17 INC.; NETFLIX US, LLC;         )
    COLUMBIA PICTURES              )
 18 INDUSTRIES, INC.; and, SCREEN  )
    GEMS, INC.                     )
 19                                )
                       Plaintiffs,
 20                                )
          vs.                      )
 21                                )
    DWAYNE ANTHONY JOHNSON         )
 22 d/b/a ALLACCESSTV and QUALITY )
    RESTREAMS; and DOES 1-20,      )
 23
                                   )
 24                    Defendants. )
                                   )
 25                                )
 26
 27
 28
Case 2:21-cv-09361-AB-MRW Document 58 Filed 03/24/23 Page 2 of 3 Page ID #:654




  1                      [PROPOSED] PERMANENT INJUNCTION
  2         Plaintiffs Universal City Studios Productions LLLP, Universal City Studios
  3 LLC, Universal Television LLC, Universal Content Productions LLC, DreamWorks
  4 Animation LLC, Disney Enterprises, Inc., Paramount Pictures Corporation, Amazon
  5 Content Services LLC, Apple Video Programming LLC, Warner Bros.
  6 Entertainment Inc., Netflix US, LLC, Columbia Pictures Industries, Inc., and Screen
  7 Gems, Inc. (collectively “Plaintiffs”) Dwayne Anthony Johnson d/b/a
  8 ALLACCESSTV (“AATV”) and Quality Restreams (collectively “Defendant”) have
  9 agreed to a Permanent Injunction against Defendant, and such other persons or
 10 entities who were or are in active concert or participation with Defendant
 11 (collectively, the “Enjoined Parties”).
 12         Defendant is hereby RESTRAINED and ENJOINED as follows:
 13         1.     The following definitions shall apply:
 14                (a)   “AATV and Quality Restreams services” shall refer to the
 15 unauthorized dissemination (including without limitation by means of transmitting
 16 performances by internet streaming) of copyrighted content to internet users
 17 (whether directly or indirectly through third parties acting at an Enjoined Party’s
 18 direction or in concert with an Enjoined Party), for streaming, copying, recording,
 19 storing, or any other use of such content, as well as all related hardware, software,
 20 middleware or services \ ever marketed, promoted, sold, delivered, supported and/or
 21 utilized for such unauthorized dissemination.
 22                (b)   “Copyrighted Works” shall mean all copyrighted works (and any
 23 portions thereof) in which any Plaintiffs (or parent, subsidiary, or affiliate of any
 24 Plaintiff) owns or controls an exclusive right under the Copyright Act, 17 U.S.C. §§
 25 101 et seq.
 26         2.     The Enjoined Parties:
 27                (a)   Shall be permanently restrained and enjoined from infringing or
 28 causing any other person to infringe, by any means, directly or indirectly, any

                                                2
Case 2:21-cv-09361-AB-MRW Document 58 Filed 03/24/23 Page 3 of 3 Page ID #:655




  1 exclusive rights under the Copyright Act in the Copyrighted Works.
  2               (b)    Shall be permanently restrained and enjoined from operating or
  3 causing any other person to operate the AATV and Quality Restreams services.
  4               (c)    Shall be further enjoined from operating or causing any other
  5 person to operate any website, system, software, or service that is substantially
  6 similar to the AATV and Quality Restreams services.
  7               (d)    Shall not directly or indirectly take any steps to release publicly,
  8 distribute, transfer, or give any source code, object code, other technology, domain
  9 names, trademarks, brands, assets or goodwill in any way related to the AATV and
 10 Quality Restreams services.
 11         3.    Defendant irrevocably and fully waives notice of entry of the
 12 Permanent Injunction, and understands and agrees that violation of the Permanent
 13 Injunction will expose Defendant to all penalties provided by law, including
 14 contempt of Court.
 15         4.    Defendant will give notice of this Permanent Injunction to any such
 16 other persons or entities who were or are allegedly in active concert or participation
 17 in AATV and Quality Restreams services.
 18         5.    Defendant consents to the continuing jurisdiction of the Court for
 19 purposes of enforcement of the Permanent Injunction, and irrevocably and fully
 20 waives and relinquishes any argument by Defendant that venue or jurisdiction by
 21 this Court is improper or inconvenient. The Court shall maintain continuing
 22 jurisdiction over this action for the purpose of enforcing the final Judgment and
 23 Permanent Injunction.
 24 IT IS SO ORDERED.
 25
 26 DATE: March 24, 2023              _____________________________________
                                      UNITED STATES DISTRICT JUDGE
 27                                   HON. ANDRÉ BIROTTE JR.
 28

                                                3
